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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CASSANDRA M. MENOKEN


                 Plaintiff,


 v.                                                    Case No. 1:16-cv-02480 (DLF)


 CHARLOTTE A. BURROWS, Chair, United
 States Equal Employment Opportunity
 Commission,


                 Defendant.


                                  NOTICE OF APPEARANCE

       TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

       PLEASE ENTER THE APPEARANCE of THERESA KRAFT of the law firm WILT

TOIKKA KRAFT, LLP., as counsel in this case on behalf of plaintiff Cassandra M. Menoken.

Ms. Kraft is admitted to practice in this Court.

Dated: October 31, 2023,                      Respectfully submitted,



                                              /s/ Theresa Kraft
                                              Theresa Kraft, esq.
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                             CERTIFICATE OF SERVICE

      I hereby certify that on the 31st day of October 2023, a copy of the foregoing NOTICE

OF APPEARANCE was served on counsel for Defendant using the CM/ECF filing system.


                                                 /s/ Theresa Kraft
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